
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 94-2080

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                   JOHN M. JEWELL,

                                Defendant, Appellant.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                    [Hon. Michael A. Ponsor, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________

                         Campbell, Senior Circuit Judge, and 
                                   ____________________

                                 Cyr, Circuit Judge.
                                      _____________

                                 ____________________

            Stuart P.  Feldman with whom Thomas  J. Dougherty was on brief for
            __________________           ____________________
        appellant.
            Andrew  Levchuk, Assistant  U.S.  Attorney, with  whom  Donald  K.
            _______________                                         __________
        Stern, United States Attorney, was on brief for appellee.
        _____


                                 ____________________

                                    July 21, 1995
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                      CAMPBELL, Senior Circuit Judge.   Defendant John M.
                                ____________________

            Jewell  was tried and convicted by a jury in federal district

            court  on one  count  of being  a felon  in  possession of  a

            firearm, in violation of 18 U.S.C.   922(g)(1), and one count

            of  receiving a stolen firearm,  in violation of  18 U.S.C.  

            922(j).  On appeal he argues that the district court erred in

            denying  his motion to suppress  all fruits of  the search at

            his  apartment at 162 Linden  Street on the  grounds that the

            affidavit  supporting the application  for the search warrant

            failed to establish probable  cause and failed to  provide an

            adequate  basis for  the issuance  of a  "no-knock" warrant.1

            He  also argues  that he  was denied  procedural due  process

            under  the Federal Magistrate Act  of 1979, 28  U.S.C.   636.

            We affirm.

                      The evidence at trial,  the sufficiency of which is

            not  disputed, showed that on  November 22, 1992, officers of

            the Pittsfield Police Department executed a state  "no-knock"

            search warrant on the residence of Jewell and his girlfriend,

            Brandee Richards, at  the first floor  of 162 Linden  Street,

            Pittsfield.   Found and  seized during the  search were crack

            cocaine, cocaine processing paraphernalia, marijuana, $473 in

            cash, and a  stolen Ruger .22  caliber revolver, S/N  191220.

                                
            ____________________

            1.  Jewell also made a  motion to suppress certain statements
            made by him at his apartment and later  at the police station
            on the ground that he was not properly advised of  his rights
            under  Miranda.  Jewell has  not appealed from  the denial of
                   _______
            that motion.

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            Jewell  and  Richards  were  arrested and  processed  at  the

            Pittsfield Police Station.

                      Jewell  challenges the  district court's  denial of

            his motion to suppress the physical evidence seized from  his

            apartment  on the  grounds that  the search  warrant was  not

            supported  by  probable cause,  as  required  by U.S.  Const.

            amend.  IV.   In particular,  he asserts  that  the affidavit

            supporting  the  application  for  the   search  warrant  was

            deficient.   The search  warrant was issued  by Massachusetts

            Clerk-Magistrate Leo  Evans upon the  affidavit of  Detective

            Granger.  The affidavit stated, in sum:  that police received

            an anonymous tip on October  6, 1992 that an African-American

            male named "Radar" was  engaged in a drug transaction  in the

            vicinity of 168 Linden  Street; that information was received

            the  following  week  from   a  "concerned  citizen"  in  the

            neighborhood that Radar was  distributing drugs from the pink

            house  with maroon  trim in  the 1st  floor apartment  on the

            right side; that subsequent surveillance by Pittsfield Police

            Investigator Decker of Radar's residence confirmed that Radar

            was  an individual known to  Decker as John  Jewell, and that

            Jewell was living in  the first floor right apartment  of 162

            Linden Street with Brandee  Richards, and also confirmed that

            individuals entered  the apartment for short  periods of time

            and left;  that a  reliable confidential informant  (CI-3), a

            longtime  resident  of Pittsfield  who  had previously  given



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            information leading to drug arrests  and convictions, advised

            that Jewell was living  at 162 Linden Street and  appeared to

            be  dealing  cocaine out  of  that  location, and  that  CI-3

            observed Jewell exchanging  money with individuals  in return

            for  small, light-colored  objects, and  reported substantial

            traffic in and  out of the apartment at all  hours of the day

            and  night, with  most  visitors entering  the apartment  for

            short  periods of time  and leaving  (which behavior  was, in

            Detective   Granger's   view,   consistent   with   narcotics

            distribution);  that a second reliable confidential informant

            (C1), who had previously  provided information leading to the

            arrest and indictment of two individuals, advised that it had

            purchased crack  cocaine from  Jewell; and finally,  that one

            William Shepard,  an informant of untested  veracity, visited

            the Pittsfield  Police Department  on November 21,  1992, and

            provided a sworn  statement to  the effect that  he had  seen

            crack cocaine in Jewell's apartment at 162 Linden Street that

            afternoon,  and  that  Jewell  had stolen  various  items  of

            clothing and other  personal property from  him, and that  he

            had  smoked  crack cocaine  obtained  from  Jewell some  time

            before coming to the police station. 

                      The   district  court  determined  that  there  was

            sufficient  probable   cause  stated  on  the   face  of  the

            affidavit,  finding that  "[t]he affidavit,  and particularly

            the  information provided  by William  Shepard, is  more than



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            adequate to provide probable  cause for the search."   United
                                                                   ______

            States  v. Jewell, Cr. No. 93-30036 (D. Mass. April 28, 1994)
            ______     ______

            (memorandum andorder denying defendant'smotions to suppress).

                      We review the  district court's decision  to uphold

            the warrant for clear  error only.  United States  v. Garcia,
                                                _____________     ______

            983  F.2d  1160,  1167  (1st  Cir.  1993);  United States  v.
                                                        _____________

            Nocella, 849 F.2d 33, 39 (1st Cir. 1988).  In evaluating  the
            _______

            sufficiency of an affidavit, we  afford great deference to  a

            magistrate's  determination of probable  cause.   Illinois v.
                                                              ________

            Gates, 462 U.S.  213, 236 (1983)  (citing Spinelli v.  United
            _____                                     ________     ______

            States, 393 U.S. 410, 419 (1969)).
            ______

                      We apply a "totality of the circumstances" standard

            in determining  the sufficiency of an affidavit.   Gates, 462
                                                               _____

            U.S. at 238.  The affidavit is to be interpreted in a common-

            sense rather than  a hypothetical  or hypertechnical  manner.

            See id.;  United  States  v. Ventresca,  380  U.S.  102,  109
            _______   ______________     _________

            (1965);  United States v.  Cochrane, 896  F.2d 635,  637 (1st
                     _____________     ________

            Cir.), cert. denied, 496 U.S. 929 (1990).
                   ____________

                      Jewell  argues that  the fact  that no  warrant was

            obtained in mid-October shows that the police lacked probable

            cause at that time, and that Shepard's statement, he being an

            admitted drug user and high at the time it was  made, was not

            enough to make up for  the deficiency.  There is no  merit to

            this  contention.    Appellant  would  have  us  engage in  a

            piecemeal examination  of the affidavit, and  base our review



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            of  the clerk-magistrate's  action  on "'bits  and pieces  of

            information  in isolation.'"   See Cochrane, 896  F.2d at 637
                                           ___ ________

            (quoting Massachusetts  v. Upton, 466 U.S.  727, 732 (1984)).
                     _____________     _____

            Viewing the affidavit as a whole, as it should be,  there was

            more  than  adequate  information  presented  to  the  clerk-

            magistrate from which to find probable cause that  drugs were

            present at Jewell's apartment.

                      Probable cause means  simply that  the totality  of

            the circumstances gives rise  to a "fair probability" that  a

            search  of  the target  premises will  uncover evidence  of a

            crime.   United States v. Jordan,  999 F.2d 11, 13  (1st Cir.
                     _____________    ______

            1993)  (citations  omitted).    In this  case,  such  a  fair

            probability  was shown  by  the reports  of two  demonstrably

            reliable confidential informants that Jewell  was trafficking

            in drugs; Shepard's statement that he had observed cocaine in

            Jewell's  apartment on the day  before the search warrant was

            issued; the statements of the concerned citizen; and finally,

            the  trained  observations  of  Investigator  Decker.    Even

            discounting  Shepard's  reliability, the  information  in the

            affidavit still  provides probable  cause to believe  that an

            ongoing  drug trafficking  operation  existed  at 162  Linden

            Street.   See United States  v. Hershenow, 680  F.2d 847, 853
                      ___ _____________     _________

            (1st Cir. 1982) (citation omitted) ("[W]here  the information

            points  to  illegal  activity  of a  continuous  nature,  the

            passage  of several  months between  the observations  in the



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            affidavit and the issuance of the warrant will not render the

            information stale.").

                      Appellant  also  argues  that  the  district  court

            should have excluded the physical evidence seized pursuant to

            the search because the clerk-magistrate lacked probable cause

            to authorize  service of the  warrant without knocking.   The

            government correctly responds  that the Federal  Constitution

            does not require state authorities, before they  issue a "no-

            knock" warrant,  to have probable cause to believe that entry

            without knocking is required.   All that is required  is that

            it  be  reasonable  under   the  circumstances  to  allow  an

            unannounced entry.   See Wilson v. Arkansas,  115 S.Ct. 1914,
                                 ___ ______    ________

            1918 (1995) (holding that  in some circumstances an officer's

            unannounced entry into a home might be unreasonable under the
                                                   ____________

            Fourth Amendment) (emphasis added).  The Court in Wilson left
                                                              ______

            to   the  lower   courts   "the  task   of  determining   the

            circumstances under which an unannounced entry is  reasonable

            under the Fourth Amendment."  Id. at 1919.
                                          ___

                      The  affidavit here  stated that  Detective Granger

            had personal knowledge of  Jewell's record of convictions for

            violent  offenses, and  that he  had personal  knowledge that

            Jewell possessed  a grey  pit bull  dog that  he kept  at the

            apartment at  162 Linden  Street.   The district  court found

            that  "the affiant's  personal  knowledge of  the defendant's

            potentially  violent tendencies  and  of the  existence of  a



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            pitbull on the  premises was,  again, more  than adequate  to

            justify  a 'no-knock' warrant."  United States v. Jewell, Cr.
                                             _____________    ______

            No. 93-30036 (D. Mass. April  28, 1994) (memorandum and order

            denying defendant's motions to suppress).

                      In  Wilson, the  Court made  clear that  not "every
                          ______

            entry must be preceded by an announcement," Wilson, 115 S.Ct.
                                                        ______

            at 1918, and  noted the common-law rule that "the presumption

            in  favor  of announcement  would  yield  under circumstances

            presenting a threat  of physical  violence."  Id.   at  1918-
                                                          ___

            19.2    We must  therefore  determine  whether the  affidavit

            presented  in support  of  the application  for a  "no-knock"

            warrant  reasonably  described  "circumstances  presenting  a

            threat of physical violence."

                      Like  the  district court,  we  hold  that it  did.

            Detective Granger  stated that  he had personal  knowledge of

            the  existence of  a pit  bull  dog in  the  apartment to  be

            searched.  The Fourth Amendment did not require the police to

            risk  having to  fight  off a  forewarned  attack dog  before


                                
            ____________________

            2.  In a footnote,  115 S.Ct. at 1918  n. 3, the  Court cited
            Sabbath  v.  United States,  391  U.S.  585  (1968), for  the
            _______      _____________
            proposition that both the common-law rule of announcement and
            entry and its exceptions were  codified in the federal "knock
                  __________________
            and announce" statute, 18 U.S.C.   3109.   Appellant suggests
            that  service of  the warrant in  this case did  not meet the
            requirements of that statute. However, the threat of physical
            violence is an established common-law exception to the "knock
            and  announce"  principle and,  as such,  is recognized  in  
            3109.   Section  3109,  moreover,  does not  apply  to  state
            investigations by  state officers.  United  States v. Andrus,
                                                ______________    ______
            775 F.2d 825, 844 (7th Cir. 1985).

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            executing  their  warrant.    See,  e.g.,  United  States  v.
                                          __________   ______________

            Buckley, 4 F.3d  552, 557  (7th Cir. 1993)  (presence of  pit
            _______

            bull and  firearms sufficient to  justify "no-knock"  entry).

            That, and the  fact of Jewell's  extensive history of  arrest

            and  conviction  for violent  crimes,  made  concern for  the

            physical safety of the  officers executing the search warrant

            entirely reasonable.  The  "no-knock" provision was justified

            in this instance.

                      We affirm  the denial of the motion to suppress the

            evidence  seized pursuant  to the  state search  warrant from

            Jewell's  apartment.   We have carefully  considered Jewell's

            other  arguments and  find them  to be  without merit.3   The

            judgment of the district court is therefore

                      Affirmed.
                      _________



                                
            ____________________

            3.  In particular,  we find  no merit in  Jewell's contention
            that he was denied procedural due process when District Judge
            Ponsor,  who   had   presided  over   pre-trial   proceedings
            concerning Jewell's  motions to  suppress as a  United States
            magistrate  judge, denied  those  motions  shortly after  his
            appointment  to  the  district  court.    While  the  Federal
            Magistrate  Act  provides  that  magistrate judges  "may"  be
            designated to  conduct hearings and submit "proposed findings
            of  fact  and  recommendations"  on  suppression motions,  28
            U.S.C.   636(b)(1)(A),(B), the  district court judge who made
            the  assignment  to  the  magistrate  judge  retains  primary
            jurisdiction  over the motion  to suppress.   In  re Worksite
                                                          _______________
            Inspection of  Quality Products, 592 F.2d 611,  613 (1st Cir.
            _______________________________
            1979).   Judge  Freedman  recalled the  case from  Magistrate
            Judge  Ponsor on March 14,  1994, and reassigned  it to Judge
            Ponsor on March  17, 1994.   Judge Freedman, in  transferring
            the  case,  and  Judge  Ponsor,  in  denying  the  motion  to
            suppress,  were merely  acting  pursuant to  their powers  as
            district judges.

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